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            IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. CROIX
UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )                CRIMINAL NO. 2008-0020
            v.                      )
                                    )
AMON THOMAS, NATHANIEL              )
THOMAS, OKIMO MELIGAN, and          )
ANDREA SOTO                         )
                                    )
            Defendants.             )
____________________________________ )


                               MEMORANDUM OPINION
FINCH, SENIOR JUDGE

       THIS MATTER comes before the Court on Defendant Amon Thomas’s Appeal From

Magistrate Judge’s Order entered May 29, 2008 Granting Plaintiff’s Motion to Detain

Defendants Pending Trial (Docket No. 21) filed by Defendant on August 5, 2009 (Docket No.

162). Defendant Amon Thomas previously filed a Notice of Appeal of the Magistrate Judge’s

Order Granting Plaintiff’s Motion to Detain Defendants Pending Trial on July 1, 2008 (Docket

No. 32). After a hearing held on June 20, 2008, the Court ruled on and denied Defendant Amon

Thomas’s appeal of the Magistrate Judge’s Order Granting Plaintiff’s Motion to Detain

Defendants Pending Trial in an Order filed on June 23, 2008 (Docket No. 38). Even if the Court

had not previously ruled on Defendant Amon Thomas’s appeal, such an appeal is untimely at this

point in the proceedings. After consideration and the Court being duly advised in its premises, it

is hereby




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       ORDERED that Defendant Amon Thomas’s Appeal (Docket No. 162) From Magistrate

Judge’s Order entered May 29, 2008 Granting Plaintiff’s Motion to Detain Defendants Pending

Trial (Docket No. 21) as to Amon Thomas, Nathaniel Thomas and Okimo Meligan is DENIED.


       ENTERED this 5th day of August, 2008.


                                          ________________/s/_______________________
                                          HONORABLE RAYMOND L. FINCH
                                          SENIOR U.S. DISTRICT JUDGE




                                             2
